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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                                       MDL NO 2924
   PRODUCTS LIABILITY                                                                                20-MD-2924
   LITIGATION
                                                                   JUDGE ROBIN L ROSENBERG
                                                           MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                   AGREED ORDER GRANTING UNOPPOSED MOTION TO
                DROP ANDA REPOSITORY, LLC FROM MASTER COMPLAINTS

            THIS CAUSE came before the Court on Plaintiffs’ Co-Lead Counsel’s Unopposed

   Motion to drop ANDA Repository, LLC from Master Complaints [DE # 2440], without prejudice,

   pursuant to Pretrial Order # 40 [DE # 1498] and Federal Rule of Civil Procedure 21. 1 Having

   reviewed the Unopposed Motion, and being otherwise fully advised in the premises, it is hereby

   ORDERED and ADJUDGED that the Unopposed Motion is GRANTED. Defendant ANDA

   Repository, LLC is dropped, without prejudice, from the following Master Complaints:

                    a.       Master Personal Injury Complaint [DE # 887] at ¶ 53.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 21st day of

   December, 2020.


                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE




   1
     “Master Complaints” refers collectively to the Master Personal Injury Complaint [DE # 887], Consolidated
   Consumer Class Action Complaint [DE # 889], and Third-Party Payor Class Complaint [DE # 888]. Pursuant to
   Pretrial Order # 40, the specific paragraph number in the corresponding Master Complaint affected by the modification
   are identified herein.
